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   October 31, 2019

   By ECF

   Honorable Pamela K. Chen
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, NY 11201

   Re:     United States v. Hawit, 15 Cr. 252 – Unopposed Request to Modify Bail

   Dear Judge Chen:

       I write to request a modification of the bail security posted by Mr. Hawit at the time of
   his release in 2016. I have conferred with AUSA Keith Edelman, who consents to the
   proposed modification. I have also consulted with Pretrial Services, and I have been informed
   that they do not typically take a position on bond collateral issues.

        In particular, we request that one of the real properties posted as security for Mr. Hawit’s
   bond¾a house owned by his cousin Lizette Hawit Medrano¾be released from the bail
   conditions and that the confession of judgment as to that property be satisfied so that the
   lien filed against the property is extinguished. More than three years have passed since this
   property was posted, and in the mean time Mr. Hawit has accepted responsibility for his
   conduct and fully complied with his obligations, both with respect to his conditions of release
   and with respect to his plea agreement. We respectfully submit that Mr. Hawit at this time
   presents no risk of flight or danger to the community. In addition, Ms. Medrano intends to
   sell her house, and the current lien will block that sale.

         Mr. Hawit is currently released on the following conditions:

           1. Appearance Bond in the amount of $1 million secured by:
                  a. $50,000 cash
                  b. four co-signers
                  c. real property¾a house owned by Mr. Hawit’s cousin, Lizette Hawit
                      Medrano located at 843 Northwest 133 Court, Miami, Fl. 33182
           2. travel restricted to the Eastern District of New York and Southern and Northern
              Districts of Florida;
           3. travel permitted to the Southern District of New York for attorney visits with
              electronic monitoring and advance permission from Pretrial Services;
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            4. avoid all contact and not associate with certain persons or entities;
            5. has surrendered his passports and shall not apply for any other passport; and
            6. Pretrial Services supervision, including
               a. random visits by a Pretrial Services office at defendant’s home and/or place of
                  work;
               b. reporting as directed by Pretrial Services; and
               c. required to maintain a residence as approved by Pretrial Services.

        Accordingly, we respectfully request that the Court remove the condition of release
   stating that Ms. Medrano’s house, located at 843 Northwest 133 Court, Miami, Fl. 33182 will
   serve as security for the bond.

       In addition, and to effectuate the removal of this condition, we respectfully request that
   the Court authorize the United States Attorney’s Office to execute and file or record with the
   proper local and state authorities such documents as are necessary to eliminate the lien
   created by the posting of this property, including but not limited to the confession of judgment
   executed and filed by Ms. Medrano.

                                               Very truly yours,



                                               Justin S. Weddle
